     Case:18-10572-SDB Doc#:22 Filed:10/23/18 Entered:10/23/18 11:55:33                                 Page:1 of 1


                            UNITED STATES BANKRUPTCY COURT
                                                Southern District of Georgia

In re:                                                                           Case No.: 18−10572−SDB
DeeAnna L. Hill
       Debtor                                                                    Judge: Susan D. Barrett
                                                                                 Chapter: 13


                                        NOTICE OF CONTINUED HEARING

The Hearing on Confirmation and Objections to Confirmation by Trustee and Pentagon Federal Credit Union originally
scheduled October 22, 2018 has been continued to:

                                              December 6, 2018 , at 10:30 AM ,
                                                  U.S. Bankruptcy Court,
                  Federal Justice Center, Plaza Bldg, 600 James Brown Blvd (9th St), Augusta, GA 30901 .

All other provisions of the original notice remain in full force and effect.



                                                                               Lucinda Rauback, CLERK
                                                                               United States Bankruptcy Court
                                                                               Federal Justice Center
                                                                               600 James Brown Blvd
                                                                               P.O. Box 1487
                                                                               Augusta, GA 30903

Dated: October 23, 2018




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